                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION

UNITED STATES OF AMERICA            )                  DOCKET NO. 5:19-cr-39-FDW
                                    )
         v.                         )
                                    )
RIGOBERTO RANGEL-GUTIERREZ          )                  FACTUAL BASIS
____________________________________)

       NOW COMES the United States of America, by and through R. Andrew Murray, United
States Attorney for the Western District of North Carolina, and hereby files this Factual Basis in
support of the Plea Agreement filed simultaneously in this matter.

        This Factual Basis is filed pursuant to Local Criminal Rule 11.2 and does not attempt to
set forth all of the facts known to the United States at this time. By their signatures below, the
parties expressly agree that there is a factual basis for the guilty plea(s) that the Defendant will
tender pursuant to the Plea Agreement, and that the facts set forth in this Factual Basis are
sufficient to establish all of the elements of the crime(s). The parties agree not to object to or
otherwise contradict the facts set forth in this Factual Basis.

       Upon acceptance of the plea, the United States will submit to the Probation Office a
“Statement of Relevant Conduct” pursuant to Local Criminal Rule 32.4. The Defendant may
submit (but is not required to submit) a response to the Government’s “Statement of Relevant
Conduct” within seven days of its submission. The parties understand and agree that this Factual
Basis does not necessarily represent all conduct relevant to sentencing. The parties agree that
they have the right to object to facts set forth in the presentence report that are not contained in
this Factual Basis. Either party may present to the Court additional relevant facts that do not
contradict facts set forth in this Factual Basis.

        1.     From on or about October 1, 2018, to on or about October 15, 2018, in Iredell
County and Mecklenburg County, within the Western District of North Carolina, and elsewhere,
the Defendant, RIGOBERTO RANGEL-GUTIERREZ, did knowingly combine, conspire,
confederate and agree with other persons, known and unknown to the United States, to commit
offenses against the United States in violation of Title 18, United States Code, Section 1956, to
wit: to knowingly conduct and attempt to conduct financial transactions affecting interstate
commerce and foreign commerce, which transactions involved the proceeds of specified
unlawful activity, that is, the manufacture, importation, sale, or distribution of a controlled
substance, knowing that the transactions were designed in whole or in part to conceal and
disguise the nature, location, source, ownership, and control of the proceeds of specified
unlawful activity, and that while conducting and attempting to conduct such financial
transactions, knew that the property involved in the financial transactions represented the


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